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7                                  UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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      NATURAL RESOURCES DEFENSE                              Case No. 1:05-cv-01207 LJO-EPG
10    COUNCIL, et al.,
                                                             ORDER DENYING MOTION FOR
                            Plaintiffs,                      RECONSIDERATION OF
11                                                           MAGISTRATE JUDGE’S RULING
      vs.                                                    (ECF NOS. 1336 & 1337)
12
      DAVID BERNHARDT, Acting Secretary,
13    U.S. Department of the Interior, et al.,

14                           Defendants.

      SAN LUIS & DELTA MENDOTA WATER
15    AUTHORITY, et al.,
16                      Defendant-Intervenors.
      ANDERSON-COTTONWOOD IRRIGATION
17    DISTRICT, et al.,

18                           Joined Parties.

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             Before the Court for decision is the one paragraph motion for reconsideration filed by Defendant
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     Intervenors, ECF No. 1336, joined (also in a one paragraph filing) by Federal Defendants. ECF No.
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     1337. Rather than directing the Court’s attention to any reasons why the moving parties believe the
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     magistrate judge’s ruling was “clear error,” see L.R. 303, the moving parties have simply string-cited
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     every brief they previously filed on the matter. The Court has afforded this motion for reconsideration
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1    far more time and thought than did the moving parties. Having reviewed the magistrate judge’s ruling in

2    light of the record and applicable law, the motion is DENIED. See ECF Nos. 1311 & 1244; Fed. R. Civ.

3    P. 45; U.S. Const., art. III, § 2.

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5    IT IS SO ORDERED.

6        Dated:     April 8, 2019                           /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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